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Case 4:21-cv-05119-SAB ECF No. 1

Joseph B. Jensen SR

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Richland, WA 9935

the.disgruntled. moderate‘@email.com
509.949.9562

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filed 08/23/21 PagelD.1 Page 1 of 26

FILED IN THE U.S. DISTRICT T
EASTERN DISTRICT OF WASHINore

AUG 2 3 2024

SEAN F. McAVOY, CLER
RICHLAND, WASHINGTON

UNITED STATES DISTRICT COURT

for the

Eastern District of Washington

JOSEPH B. JENSEN SR, individually
and on behalf of similarly situated
individuals and, JBJ, a minor child,

Plaintiffs,

VS.

JOSEPH R. BIDEN JR, in his official
capacity as President of the United
States; JAY R. INSLEE, in his official
capacity as Governor of Washington
State, ANTHONY S. FAUCL, in his
official capacity as Director for the
National Institute of Allergy and
Infectious Diseases; CENTER FOR
DISEASE CONTROL AND
PREVENTION; NATIONAL
INSTITUTE OF HEALTH; UNITED
STATES FOOD AND DRUG
ADMINISTRATION

Defendants

 

JENSEN,

Case No.:: 4:21 -cv-51 1 9-SAB

COMPLAINT
JURY TRIAL REQUESTED

ET AL V. BIDEN, ET AL - COMPLAINT 1

 
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COMPLAINT

The plaintiff, Joseph B. Jensen SR, on behalf of himself, JBJ, a minor child,
and similarly situated individuals, moves the Court for entry of judgment in their
favor against the defendants Joseph R. Biden, President of the United States
(POTUS), Jay R. Inslee, Governor of Washington State (GOV), Anthony S. Fauci,
Director for the National Institute of Allergy and Infectious Diseases (NIAID), the
Center for Disease Control and Prevention (CDC), the National Institute of Health
(NIH), and the United States Food and Drug Administration (FDA) and in support

of such complaint avers as follows:

JURISDICTION AND VENUE

1. This is a civil action under 42 USC § 1983 and BIVENS, seeking
damages and injunctive relief against Defendants for committing acts, under color
of law, with the intent and for the purpose of depriving Plaintiff of rights secured
under the Constitution and laws of the United States; betraying the public trust;
conspiring to defraud the citizens of the United States; and for refusing or
neglecting to prevent such deprivations and denials to Plaintiffs.

2. This case arises under the United States Constitution and 42 U.S.C.
Sections 1981, 1982, 1983, 1985, and 1988, as amended. This Court shall have
subject matter jurisdiction pursuant to 28 U.S.C. Sections 1331, 1332, 1337, 1343,
1346, and 1361. The declaratory and injunctive relief sought is authorized by 28
U.S.C. Sections 2201 and 2202, 42 U.S.C. Section 1983 and Rules 23 and 57 of
the Federal Rules of Civil Procedure.

3. Plaintiff brings this action because of damages incurred from unlawful
seizure of property, searches, liberty interests, defamation, and the deprivation of

rights, privileges, and immunities secured to the Plaintiff under the First, Fourth,

JENSEN, ET AL V. BIDEN, ET AL - COMPLAINT 2

 
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Fifth, Seventh, Eighth, Ninth, Tenth and Fourteenth Amendments to the United
States Constitution.

4. Venue lies in the Eastern Division of the United States District Court for
the District of Washington pursuant to 28 USC § 1391(a)(1), 28 USC § 1391(b)(2),
and 28 USC § 1391(e)(1)(C) because the Defendants are officers of the United
States and Washington State, and because the underlying acts, omissions, events,
injuries, and related facts, upon which the present action is based, occurred in
Benton County, Washington.

PARTIES

5. Plaintiff JOSEPH B. JENSEN SR is, and at all times herein mentioned
was, a United States citizen and a resident of the Eastern District of Washington.
Plaintiff is the father of Plaintiff JBJ and is entrusted with protecting and enforcing
JBJ’s rights. Plaintiff is employed by a federal government sub-contractor.

6. Plaintiff JBJ is, and at all times herein mentioned was, a United States
citizen and resident of the Eastern District of Washington. JBJ is a minor child of
Plaintiff Jensen.

7. Defendant JOSEPH R. BIDEN JR is, and at all times herein mentioned,
the duly elected President of the United States (POTUS) pursuant to Article II of
the United States Constitution, with all power and authority granted to him as the
Constitution provides.

8. Defendant JAY R. INSLEE is, and at all times herein mentioned was, the
Governor of Washington State, with all the power and authority granted to him, as
the chief executive of the state, as the Washington State Constitution provides, and
a “person” subject to suit within the meaning of 42 U.S.C. Section 1983.

9. Defendant ANTHONY S. FAUCI is, and at all times herein mentioned

was, the Director for the National Institute of Allergy and Infection Diseases

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(NIAID), the head of the White House SARS-CoV-2 (COVID-19) task force, chief
medical advisor to POTUS, and a “person” subject to suit within the meaning of 42

U.S.C. Section 1983 and under a BIVENS claim.
10. Defendant CENTER FOR DISEASE CONTROL AND PREVENTION

(CDC) is, and at all times herein mentioned was, a political subdivision to the
United States, and a “person” subject to suit within the meaning of 42 U.S.C.
Section 1983 and under a BIVENS claim. CDC is responsible for controlling the
introduction and spread of infectious diseases and provides consultation and
assistance to other nations and international agencies to assist in improving their
disease prevention and control, environmental health, and health promotion
activities. CDC administers the Preventive Health and Health Services Block Grant
and specific preventive health categorical grant programs while providing program
expertise and assistance in responding to Federal, State, local, and private
organizations on matters related to disease prevention and control activities.

11. Defendant NATIONAL INSTITUTE OF HEALTH (NIH) is, and at all
times herein mentioned was, a political subdivision to the United States, and a
“person” subject to suit within the meaning of 42 U.S.C. Section 1983 and under a
BIVENS claim. NIH's mission is to seek fundamental knowledge about the nature
and behavior of living systems and the application of that knowledge to enhance
health, lengthen life, and reduce illness and disability. Among the goals of the
agency are to develop, maintain, and renew scientific human and physical
resources to ensure a continued high return on the public investment in research,
and to exemplify and promote the highest level of scientific integrity, public
accountability, and social responsibility in the conduct of science. The NIH
provides leadership and direction to programs designed to improve the health of
the Nation by conducting and supporting research in various areas.

12. Defendant UNITED STATES FOOD AND DRUG
ADMINISTRATION (FDA) is, and at all times herein mentioned was, a political

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subdivision to the United States, and a “person” subject to suit within the meaning
of 42 U.S.C. Section 1983 and under a BIVENS claim. FDA is responsible for
protecting the public health by assuring the safety, efficacy and security of human
and veterinary drugs, biological products, medical devices, our nation’s food
supply, cosmetics, and products that emit radiation. FDA is also responsible for
advancing the public health by helping to speed innovations that make medicines
more effective, safer, and more affordable and by helping the public get the
accurate, science-based information they need to use medicines and foods to
maintain and improve their health.

13. Atall times relevant, Defendants acted under the color of State or
Federal law.

FACTS

14. In late 2019, there was the start of an outbreak of SARS-CoV-2
(COVID) in Wuhan, China. This was first reported to the World Health
Organization (WHO) around approximately January 9, 2020.

15. January 20, 2020, the CDC stated that it would begin screening travelers
at JFK, San Francisco International, and Los Angeles International airports. These
were chosen because flight between Wuhan and the US bring the most passengers
through them.

16. The CDC confirmed the first US covid case on January 21 ofa
Washington State man who had returned from Wuhan on the 15" of January.

17. On Jan. 23", China placed Wuhan under quarantine and the WHO
declared a global emergency shortly after that on Jan. 31, 2020.

18. Several news articles were published questioning the narrative by the
Chinese, WHO, CDC, and the Wuhan Institute of Virology (WIV) that the virus

had mutated and caused a cross species leap.

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19. Global air travel was restricted on Feb 2. Any person traveling after that
time would be required to quarantine for 2 weeks if they had been to Hubei
province. The US declared a Public Health Emergency on Feb 3.

20. The CDC advised that covid is trending towards pandemic status having
met 2 of the 3 requirements for that. The NIH, by and through the NIAID, begin
clinical trials for Remdesivir on Feb. 21. Defendant Fauci is quoted as saying on
the NIAID website “we urgently need a safe and effective treatment for COVID-
19. Although remdesivir has been administered to some patients with COVID-19,
we do not have solid data to indicate it can improve clinical outcomes.”

21. In March of 2020, WHO declared covid a pandemic and the US declares
a national emergency. Travel was banned by non-US citizens, the University of
Minnesota began testing hydroxychloroquine as a potential treatment, Medicare
begins implementing telehealth procedures, the President asks Congress to send
direct financial aid to the American people, and state-wide stay-at-home
(lockdown) orders are issued, with California being the first on March 19.

22. On March 23, 2020, Defendant Inslee issued the first lockdown order
(Proclamation 20-25) in Washington State.

23. The Legislature passes the CARES act and it is signed into law by
President Trump and the FDA issues an Emergency Use Authorization for
Hydroxychloroquine under 21 USC § 360bbb — 3. Hydroxychloroquine is an FDA
approved drug, taken orally, for the treatment malaria and auto-immune diseases
and so it was given the EUA as “unapproved use of an approved product.”
Physicians worldwide begin treating COVID empirically with ivermectin in April
2020.

24. On April 18, President Trump stated that the pandemic was caused by a
“Jab leak” from the WIV. Then presidential candidate Defendant Biden and
Defendant Fauci attacked President Trump for spreading misinformation.

Defendant Fauci then stated to Fox News he is “not convinced” it started naturally.

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This will be one of the last times that the lab leak theory is talked about for over a
year. PolitiFact, a fact checking website, is quoted as saying “CDC and Chinese
authorities having isolated the genome of the 2019 coronavirus. Their findings
suggest ‘a likely single, recent emergence of the virus from an animal reservoir.’”
PolitiFact analyzed 8 studies by the CDC and rated the claim about the lab leak
theory as false.

25. April 29", the NIH promotes their trial data of Remdesivir for the
treatment of covid. The NIH and NIAID did not peer review this trial data.

26. May | Remdesivir is given EUA, with out peer review, for treatment of
covid.

27. On May 8, 2020, the Senate Committee on Homeland Security and
Governmental Affairs on treating COVID-19 holds a COVID-19 Round table to
discuss how new information should drive policy in the diagnosing and treatment
of COVID. One of the US’s leading intensivists (ICU Doctor) Dr. Pierre Kory
testified “We are doctors, trained to diagnose and treat illness, we are experts in
our field with decades of experience and hundreds of publications. However, we
most pride ourselves by the skills we have gained at the bedside in caring for
patients. We have clearly devised an effective treatment for use, prior to the
publication of randomized controlled trials. Those trials are critical for sure, as
they will help us further refine and/or perfect our treatment doses, durations, and
indications, but waiting for the perfect is and will be the enemy of the good, which
we are already achieving and will continue to achieve for many. We just want to
save lives, and we know how to do it.” The NIH and CDC worked to discredit the
findings of Dr. Kory and his peers, according to the written testimony.

28. On May 8, 2020, Peru’s Ministry of Health approves ivermectin for
inpatient and outpatient treatment of COVID. When used the deaths decreased
from 660 to 48 over 4 months (Aug 20 — Dec 20).

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29. The Senate Committee on Health held a hearing on May 12 in which the
NIH, NIAID, CDC, and FDA leaders testified. Defendant Fauci testified “we
don’t see a vaccine playing [into] the ability of individuals going back to school
this term.” Testing vaccines for safety and efficacy can take months to years, but
he testified he is “cautiously optimistic” that one vaccine will be effective and
achieved within a year or two. May 21, the US agrees with AstraZeneca for a
vaccine deal.

30. In June of 2020 the WHO halts the study into Hydroxychloroquine and
the NIH halts the trial after reports of heart rhythm problems and the EUA was
rescinded.

31. The manufacturer of Remdesivir set the price for the taxpayer funded
treatment at $520 a vial and $3120 per patient if insured on June 29.

32. Scientists around the world ask the WHO to revise the guidance on
COVID to state its airborne transmission. The WHO revised its guidance on July
9,

33. In July 2020, the Moderna vaccine produced immune responses in all 3
groups of 15 (45 total) volunteers despite some adverse effects. Vaccines from
AstraZeneca and CanSino Biologics consisting of 1585 participants showed
positive results. The US also enters into a deal with Pfizer and BioNTech for
vaccines.

34. In August 2020, the US enters into a deal to have Sanofi and
GlaxoSmithKline (GSK) develop vaccines for COVID. Hospitals in low-income
areas have no ICU beds while high income areas are relatively unpopulated.
Moderna also enters into an agreement with the US for its vaccine that the NIAID
is conducting. The FDA also approves another EUA for convalescent plasma as a
therapy to fight COVID.

35. August 24, Remdesivir results show there were no significant

differences in duration of supplemental oxygen or hospitalization between the

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intervention group given remdesivir and the control group given standard care.
The CDC revises its testing guidelines and retracts it days later. The first case of
COVID reinfection occurs on August 28.

36. September 3, Studies show that inexpensive steroids are the most
effective treatment to date for severe COVID, thus vindicating Dr. Pierre Kory’s
testimony on May 8, 2020.

37. Sanofi and GSK begin trials for their vaccine. AstraZeneca halts their
vaccine trial after an unknown adverse reaction and the NIH starts an investigation
as to why the patient suffered spinal cord damage. The FDA has not yet revoked
the EUA for AstraZeneca. Pfizer and BioNTech increase their trial group to
44,000 and Johnson and Johnson (J&J) starts its phase 3 trial.

38. On September 16, Defendant Biden, as a presidential candidate, warns
President Trump to not rush the vaccines in a report by Reuters, “there has to be
total transparency, so scientists outside the government know what is being
approved.” Defendant Biden also says he does not trust Trump when it comes to
the virus. Defendant Inslee further stoked the fears of vaccines when he told
reporters “If all the protocols had been followed and the evidence is in, I’d follow
science. It doesn’t matter when it happens, but I would have to look at the science,
not Donald Trump. There isn’t one single think I would ever trust from Donald
Trump to be true.” On September 23 a new more contagious COVID strain is
discovered.

39. The US signs a deal with AstraZeneca to develop and antibody
treatment on October 9. Johnson and Johnson halted its vaccine trial after adverse
events occur with the vaccine. The FDA approves Remdesivir on October 22 as
the first COVID drug treatment despite a WHO study that said the drug had “little
to no effect”. The FDA did not mention this study because the NIH-backed trial
supported approval. Johnson and Johnson and AstraZeneca restart their trials.
October 28, 2020, Defendant Inslee told reporters that he was joining a pact with 4

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other western states for a panel of experts to review any vaccine. “If we get a
vaccine, we want it to work. It doesn’t do a lot of good to have a vaccine approved
by the FDA that never achieves real immunity. If people don’t trust the system,
some people may not use it. They’re concerned about whether the system is really
credible or not. Some of that, unfortunately, has been caused by the sort of ham-
handed attempts by the president to monkey with the FDA process.”

40. In November 2020, Defendant Biden announces his COVID transition
team. Pfizer, Moderna, BioNTech, and AstraZeneca release their vaccine efficacy
results. They submit their vaccines to the FDA for EUA. The FDA also grants
EUA for a second antibody treatment manufactured by Regeneron which had a
clinical trial of 800 people that significantly reduced virus level within days. By
the end of November there have been 50 studies, reviews or small trials that have
been published in medical journals reviewing the efficacy of Ivermectin to treat
and prevent COVID.

41. On December 8, 2020, the Senate Committee on Homeland Security and

Governmental Affairs held a hearing on “Early Outpatient Treatment”. Dr. Kory

again participated in the hearing providing testimony. At the onset, the Ranking
Member Senator Gary Peters attacked the credibility of Dr. Kory and the other
witnesses stating “the witnesses have made many harmful, inflammatory
statements. Those statements include undermining a COVID-19 vaccine,
promoting unproven therapeutics, discouraging commonsense measures to stop the
spread of the virus like social distancing or masks, and even comparing physicians
who support these interventions to supporters of the Nazi regime. I welcome
diverse perspectives, but we have a responsibility to follow science and facts, not
conspiracy theories and disinformation.”

42. Dr. Kory was also attacked based upon his scientific evidence and his
clinical experience as an intensivist for promoting the use of Ivermectin as a

preventative treatment and progression of the illness. Dr. Kory testified “In the last

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3-4 months, emerging publications provide conclusive data on the profound
efficacy of the anti-parasite, anti-viral drug, anti-inflammatory agent called
ivermectin in all stages of the disease. Our protocol was created only recently, after
we identified these data. Nearly all studies are demonstrating the therapeutic
potency and safety of ivermectin in preventing transmission and progression of
illness in nearly all who take the drug.” He testified that he had addressed this
Nobel Prize winning drug, and its results, with known adverse effects over 40
years of use, with the NIH, CDC, and FDA but they had not responded.

43. He also testified “The doctors and nurses are tired and getting burnt out.
We must get it to stop. I don’t know how much longer IJ can do this, especially
knowing that it will all be needless death from here on out, given there is a readily
available solution. A solution that cannot be dismissed or ignored. There is a
critical need to inform health care providers in this country and the world. The
leadership of our governmental health care agencies has a great responsibility here.
All we ask is for the NIH, the CDC, and the FDA to conduct a rapid review of the
literature reviewed in this presentation and provide guidance to the country’s
health care providers.”

44. As posted on the Senate Hearing website, at this hearing 5 other medical
experts testified that the NIH, CDC, and FDA have lost their conventional wisdom
that was held with them prior to COVID. The entire expert panel was attacked by
the ranking member and the media afterwards. Dr. Kory’s Wikipedia page
includes the statement “Pierre Kory is an American critical care physician who
gained attention during the COVID-19 pandemic for advocating widespread off-
label use of certain drugs as treatments for COVID-19. Kory testified twice at
the U.S. Senate regarding COVID-19. During his testimony in December 2020,
Kory erroneously claimed that the antiparasitic medication ivermectin was a

‘wonder drug’ with ‘miraculous effectiveness’ against COVID-19.”

JENSEN, ET AL V. BIDEN, ET AL - COMPLAINT 11

 
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45. December 11, 2020, the FDA authorizes an EVA for Pfizer and
BioNTech, on an 17-4-1 vote, deciding that the benefits outweigh the risks. The
FDA authorizes and EUA for Moderna vaccine on Dec. 18. Novavax starts phase
3 trial with 30000 patients. A report is published of a study in India which
indicates a 5-day course of ivermectin resulted in an earlier clearance of the virus,
and “early intervention reduces the viral load faster, thus may help block disease
transmission in the general population.”

46. January 2021, Defendant Biden is sworn in as President. Vaccines are
being distributed and there are some adverse reactions to the vaccine, but the FDA
and CDC say the incidents are rare. Vaccine makers begin testing on minors. The
CDC pledges to increase science-based communication to address antivaccination
sentiment and vaccine hesitancy. Defendant Fauci said that current COVID
vaccines may be less effective against more aggressive variants.

47. New York state, saw 2 lawsuits in January, Dickinson v Rochester
General (0047013/2021) and Kulbacki v Kaleida Health, Et Al. (800259/2021), in
which hospitals refused treatment use of ivermectin for elderly individuals. These
patients were in the most severe categories with one family being told their family
member had a 20% chance to survive. The hospitals refused to administer the
ivermectin. The families took them to the NY Supreme Courts of their counties. 2
Judges ordered that the hospitals administer the ivermectin so long as the primary
physician writes a prescription for it. Once the medicine was administered the
patients had remarkable improvement. The CDC, FDA, and NIAID still refuse to
recommend ivermectin for treatment of COVID.

48. Merck, the manufacturer of ivermectin (stromectol), ceases
development of 2 vaccines and instead focuses on the efficacy of 2 treatments for
COVID. The US is paying Merck $356 million to fast-track production of these

new treatments and not for ivermectin.

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49. In February 2021, J&J and Novavax release the phase 3 trials for their
vaccine with efficacy between 72%-89% of the original variant of COVID but
even less effective against more aggressive variants. AstraZeneca is shown to be
84% effective and boosters are required. CanSino is proven to be 66% effective
against mild cases and 91% effective against severe cases. The FDA says it will
expedite trials for vaccine boosters against variants of COVID. The FDA grants
EUA for J&J vaccine. Senator Ron Johnson writes an op-ed for the Wall Street
Journal describing how the disinformation from the CDC, FDA, NIH, and NIAID
has allowed YouTube to cancel the Senate testimony of the December 8 hearing.

30. In March of 2021, Defendant Fauci said that it is likely elementary
school-aged children will be eligible for the COVID vaccines, and that high school
student will be eligible at the start of the 2021-22 school year. Defendant Biden
says the vaccines will be available by the end of May for all American adults. The
CDC issues guidance granting liberties to individuals of one class of people
(vaccinated) while still limiting the liberties of the others. The Japanese Journal of
Antibiotics published a review article titled “Global trends in clinical studies of
ivermectin in COVID-19”. This review found “Since then, numerous clinical trials
have been conducted in various countries around the world. As of the 30th of
January 2021, a total of 91 trials in 27 countries has been recorded at these
registration sites. There are 43 trials in phase 3 and 27 trials in phase 2, along with
17 observational studies. This includes 80 trials being conducted for therapeutic
purposes and 11 for the purpose of preventing the onset of disease in close contacts
and healthcare professionals. Furthermore, by the 27th of February, the results of
42 clinical trials, including approximately 15,000 patients (both registered and
unregistered studies) have been subjected to a meta-analysis after exclusion of
biasing factors. It was found that 83% showed improvements with early treatment,
51% improved during late-stage treatment, and there was an 89% prevention of

onset rate noted. This confirms the usefulness of ivermectin. Since it is a meta-

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analysis based on 42 test results, it is estimated that the probability of this
comprehensive judgment being a mistake is as low as | in 4 trillion.”

51. Vaccine makers are releasing information about their vaccine’s
effectiveness using real-world evidence. AstraZeneca issued a statement denying
their vaccine is causing blood clots. Defendant Fauci urged former President
Trump to encourage conservatives to get vaccinated. The Kaiser Family
Foundation produced a study showing a consistent pattern across the US of
minority communities of Black and Hispanic Americans receiving less of the
vaccines compare to White communities.

52. J&J starts to roll out its vaccine in March, but it is marred by problem
after problem. J&J has 15 million vaccines spoiled in production after it made its
deadline for rollout. Pfizer released data from a trial into the efficacy of the
vaccine in minors aged 12-15. Results of this trial have not been peer reviewed
prior to publication.

53. In April of 2021, several vaccine makers sought EUA expansion to treat
minors in the ages of 12-15. J&J had multiple states pause their vaccine after
adverse effects were reported. The CDC and FDA recommended that J&J vaccine
be paused after extremely rare blood clotting was reported. J&J also had more
flaws in their Baltimore plant reported by federal agencies. AstraZeneca had their
vaccine trial paused in multiple countries after blood-clotting issues were reported
among adults.

54. The CDC announced new guideline for fully vaccinated individuals,
granting them additional liberties while continued restriction of the unvaccinated.
Defendant Fauci stated that evidence indicated that there will probably be a need
for booster shots for vaccines. Reports are published showing racial inequities
during the vaccination campaign.

55. In May 2021, The FDA, CDC, NIH, and NIAID continue to promote

and allow for expansive trials of the vaccines in production. The Los Angeles

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Times reported that approximately one-third of Black and Latin Californians have
received the vaccine compared to White and Asian American Californians. The
CDC investigates rare cases of heart problems in teenagers and young adults after
they received a vaccine. Defendant Fauci testifies during a Senate hearing that the
NIH had given a grant to the WIV to study the SARS-CoV-1 virus but dismissed
the notion that it was for gain of function research. The White House under
Defendant Biden stated that China had “not been transparent” about the origins of
COVID. PolitiFact revises their fact checks about the lab leak theory by stating
“that assertion is now more widely disputed,” and despite that dispute the claim “is
unsubstantiated and lacks evidence.”

56. The entire Indian Bar Association served legal notice on the WHO for
“Dr. Soumya Swaminathan has ignored these studies/reports and has deliberately
suppressed the data regarding effectiveness of the drug Ivermectin, with an intent
to dissuade the people of India from using Ivermectin.”

57. In June 2021, the Equal Employment Opportunity Commission (EEOC)
permits employers to mandate the vaccine among their workforces. NIAID starts a
study to focus on prolonging immunity to show whether boosters are warranted.
Defendant Biden announces an initiative to boost vaccination by offering free
childcare to those who get vaccinated. The US begins donating unused vaccines to
the WHO’s Covax program. Defendant Fauci called the delta variant “the greatest
threat in the US in our attempt to eliminate COVID-19.”

58. In July 2021, data from Israel shows dips in efficacy of the Pfizer
vaccine. Pfizer seeks FDA approval to pursue a booster for their vaccine. The
vaccines in use are shown to be less effective against the delta variant. Adverse
health effects are reported in people previously infected with COVID after
receiving a vaccine. Manufacturers are seeking approval to begin testing on
children under the age of 12. Defendant Inslee said to reporters with regards to the

unvaccinated “you are a bioreactor facility generating virus and spreading it

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around, including to kids who can’t get vaccinated. I want to reiterate that. If
you’re a 50-year-old man who, you know, voted for Donald Trump and didn’t
think COVID was a problem and you don’t get vaccinated right now, you’re a risk
to everykid in your city because you could be spreading the virus to a 10-year-old
who can’t get eligible for the vaccine right now. Now some of us think that’s not
responsible, and if that’s judgmental, so be it.”

59. On July 22, NY Governor mandates that health workers in NYC will
need to be vaccinated or undergo weekly COVID testing. This is done to
encourage vaccination while those refuse both options be subject to suspension and
termination. On July 26, California and NY City require vaccines for city and state
workers. The Department of Veteran Affairs requires vaccines for its health care
workers. The American Journal of Therapeutics (volume 28) publishes a meta-
analysis to inform clinical guidelines and concluded, using the GRADE approach,
that “moderate-certainty evidence finds that large reductions in COVID-19 deaths
are possible using ivermectin. Using ivermectin early in the clinical course may
reduce numbers progressing to severe disease. The apparent safety and low cost
suggest that ivermectin is likely to have a significant impact on the SARS-CoV-2
pandemic globally.”

60. On July 29, 2021, Defendant Biden issued an order requiring all federal
workers and subcontractors to be vaccinated or undergo testing twice a week.

61. On August 9, 2021, Defendant Inslee issued an order (21-14) requiring
vaccination of all health care workers, state employee, teachers, and for them to

provide proof of vaccination.

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CAUSES OF ACTION
COUNTS 1-5
Constitutional and Civil Rights
Violation of Fourth, Fifth, Eighth, Ninth, and Tenth Amendment Rights
(Against Defendant Biden)

62. The foregoing allegations are incorporated as is re-alleged herein.

63. Plaintiffs have a Constitutional right to be free from searches in their
persons at all times. In all aspect of life, to include employment, that right is
secured unless waived voluntarily or there is probable cause.

64. Plaintiff Jensen is subject to the provisions of the mandate as an
employee of a government sub-contractor.

65. Defendant Biden’s executive order requiring an unvaccinated person to
submit to mandatory COVID testing by the government, or its empowered agent,
absent probable cause is an unwarranted intrusion into the core principle that the
people shall be secure in his/her person.

66. The nature of the test is an invasive body search in which a biological
sample is taken from the person.

67. Defendant Biden’s order is arbitrary and violates the due process rights
of Plaintiffs.

68. Defendant Biden’s order constitutes a cruel, unusual, and unnecessary
punishment. The search is punitive measures against Plaintiffs who refuse to
become vaccinated.

69. Defendant Biden’s order violates Plaintiffs right to bodily autonomy and
bodily integrity as secured by the Ninth and Tenth Amendments.

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70. Defendant Biden’s order violates Plaintiffs right to decide their medical
health direction with the advice of personal medical provider as secured under the
Ninth and Tenth Amendments.

71. Defendant Biden’s order to mandatory testing is not the least restrictive
means available.

COUNTS 6-11
Constitutional and Civil Rights
Violation of First, Fourth, Fifth, Eighth, Ninth, and Tenth Amendment Rights
(Against Defendant Biden)

72. The foregoing allegations are incorporated as is re-alleged herein.

73. Plaintiffs have a Constitutional right to be free from bodily intrusion and
harm. In all aspect of life, to include employment, that right is secured unless
waived voluntarily.

74. Plaintiff Jensen is subject to the provisions of the mandate as an
employee of a government sub-contractor. .

75. Defendant Biden’s vaccine mandate infringes upon the fundamental
right of the people to bodily autonomy and bodily integrity.

76. Defendant Biden’s mandate to vaccinate is irreparable if implemented
and constitutes a cruel and unusual punishment.

77. Defendant Biden’s order to vaccinate prohibits Plaintiffs rights to life,
liberty and pursuit of happiness secured by the First, Ninth, and Tenth
Amendments.

78. Defendant Biden’s restrictions for the unvaccinated constitutes a seizure
of liberty as protected by the Fourth and Fifth Amendments.

79. Defendant Biden’s vaccine mandate violates Plaintiffs right to

association and expression as secured by the First Amendment.

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80. Defendant Biden’s mandate exerts compulsion upon private employers
to order a vaccine requirement for their employees.

81. Defendant Biden exceeded his constitutional authority by issuing the
mandate. It is the power of Congress to regulate commerce. Defendant’s mandate
creates an irreversible permanent change on the commercial world. That is the
scope and authority of the legislature under Article 1 section 8 of the US
Constitution.

82. Defendant Biden’s mandate for vaccination is not the least restrictive
means available.

COUNTS 12 — 17
Constitutional and Civil Rights Pursuant to 42 U.S.C. §§ 1983, 1988
Violation of Fourth, Fifth, Eighth, Ninth, and Tenth Amendment Rights
(Against Defendant Inslee)

83. The foregoing allegations are incorporated as is re-alleged herein.

84. Plaintiffs have a Constitutional right to be free from searches in their
persons at all times. In all aspect of life, to include employment and school, that
right is secured unless waived voluntarily or there is probable cause.

85. Defendant Inslee’s executive order requiring an unvaccinated person to
submit to mandatory COVID testing by the government, or its empowered agent,
absent probable cause is an unwarranted intrusion into the core principle that the
people shall be secure in his/her person.

86. The nature of the test is an invasive body search in which a biological
sample is taken from the person.

87. Defendant Inslee’s order is arbitrary and violates the due process rights
of Plaintiffs.

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88. Defendant Inslee’s order constitutes a cruel, unusual, and unnecessary
punishment. The search is punitive measures against Plaintiffs who refuse to
become vaccinated.

89. Defendant Inslee’s order violates Plaintiffs right to bodily autonomy and
bodily integrity as secured by the Ninth and Tenth Amendments.

90. Defendant Inslee’s order violates Plaintiffs right to decide their medical
health direction with the advice of personal medical provider as secured under the
Ninth and Tenth Amendments.

91. Defendant Inslee’s order to mandatory testing is not the least restrictive
means available.

COUNTS 18 — 23
Constitutional and Civil Rights Pursuant to 42 U.S.C. §§ 1983, 1988
Violation of First, Fourth, Fifth, Eighth, Ninth, and Tenth Amendment Rights
(Against Defendant Inslee)

92. The foregoing allegations are incorporated as is re-alleged herein.

93. Plaintiffs have a Constitutional right to be free from bodily intrusion and
harm. In all aspect of life, to include employment and school, that right is secured
unless waived voluntarily.

94. Defendant Inslee’s vaccine mandate infringes upon the fundamental
right of the people to bodily autonomy and bodily integrity.

95. Defendant Inslee’s mandate to vaccinate is irreparable if implemented
and constitutes a cruel and unusual punishment.

96. Defendant Inslee’s order to vaccinate prohibits Plaintiffs rights to life,
liberty and pursuit of happiness secured by the First, Ninth, and Tenth
Amendments.

97. Defendant Inslee’s restrictions for the unvaccinated constitutes a seizure

of liberty as protected by the Fourth and Fifth Amendments.

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98. Defendant Inslee’s vaccine mandate violates Plaintiffs right to
association and expression as secured by the First Amendment.

99, Defendant Inslee’s mandate exerts compulsion upon private employers
to order a vaccine requirement for their employees.

100. Defendant Inslee exceeded his constitutional authority by issuing the
mandate. It is the power of Congress to regulate commerce. Defendant’s mandate
creates an irreversible permanent change. That is the scope and authority of the
legislature under Article 2 of the Washington State Constitution.

101. Defendant Inslee’s mandate for vaccination is not the least restrictive
means available.

COUNTS 24 - 36
BIVENS Conspiracy to Violate Constitutional and Civil Rights
Violation of First, Ninth, and Tenth Amendment Rights
(Against Defendants Fauci, CDC, FDA, and NIH)

102. The foregoing allegations are incorporated as is re-alleged herein.

103. Plaintiffs have a right to life, liberty, and pursuit of happiness under the
First, Ninth, and Tenth Amendments.

104. Plaintiffs have a right to true and accurate information from their
government during a state of emergency.

105. Plaintiffs have the right to informed consent with regards to their
bodily autonomy and bodily integrity.

106. Defendants willfully and intentionally deceived Plaintiffs, and the
American people, by spreading disinformation about the origins of the SARS-
CoV-2 virus.

107. Defendants willfully and intentionally refused to apply the same

standards of evidence for EUA when applied to drugs as an “unapproved product”

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and an “unapproved use for an approved product” as required under 21 USC §
360bbb-3.

108. Defendants willfully and intentionally engaged in a disinformation
campaign to discredit and refuse the American people from using a cheap,
established, effective, and safe drug (ivermectin).

109. Defendants willfully and intentionally attacked witnesses to discredit
their advocacy of standards of care and treatment during this global pandemic.

110. Defendants willfully and intentionally enacted guidance they knew
Governors, Mayors, and Legislators would rely on in any good faith effort to
combat this global pandemic.

COUNTS 37 - 40
Crimes Against Humanity
(Against Defendants Fauci, CDC, FDA, and NIH)

111. The foregoing allegations are incorporated as is re-alleged herein.

112. Defendants willfully and intentionally withheld vital public
information with regards to COVID’s origins and possible treatment.

113. Asaresult of Defendants willful and intentional actions, Plaintiffs, and
the American, people suffered catastrophic injuries from economic, social, and
educational impacts.

114. Defendant’s refusal to be truthful and transparent cause countless
injuries and deaths around the world and in America.

115. Defendants funded the creation of the virus that caused wide-spread
death and destruction and profited off it the measures to combat it.

COUNT 41
Betrayal of Public Trust
(Against Defendant Biden)

116. The foregoing allegations are incorporated as is re-alleged herein. -

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117. Defendant Biden promoted during the Presidential election an
atmosphere of fear and distrust.

118. Defendant Biden continued to divide and pit the country against one
another by stoking the fear of our fellow citizens.

119. Defendant Biden, being the Chief Executive of the United States, is
ultimately responsible for the departments under his charge.

120. Defendant Biden, having exceeded his Constitutional authority,
infringed on the rights of the Plaintiffs and the American people, violating his Oath
of Office.

COUNT 42
Constitutional and Civil Rights Pursuant to 42 U.S.C. §§ 1983, 1988
Betrayal of Public Trust
(Against Defendant Inslee)

121. The foregoing allegations are incorporated as is re-alleged herein.

122. Defendant Inslee promoted during the Presidential election an
atmosphere of fear and distrust.

123. Defendant Inslee continued to divide and pit the country against one
another by stoking the fear of our fellow citizens.

124. Defendant Inslee defamed Plaintiffs by accusing them of being Donald
Trump voters and bio-factories.

125. Defendant Inslee has engaged in punitive actions against those who
have different political ideas than him.

126. Defendant Inslee, having exceeded his Constitutional authority,
infringed on the rights of the Plaintiffs and the American people, violating his Oath
of Office.

COUNTS 43 — 46
Betrayal of Public Trust

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(Against Defendants Fauci, CDC, FDA, and NIH)

127. The foregoing allegations are incorporated as is re-alleged herein.

128. Defendants willfully and intentionally encouraged the use of
experimental drugs, regardless of the repercussions or risks.

129. Defendants promotion of experimental and costly drug development
pilfered the American tax coffers and saddled Plaintiff's progeny with a mountain
of debt.

130. Defendants continued refusal to actively pursue an EUA for known
safe, cheap, effective drugs further bilked the American populace.

131. Defendants waste and abuse of the funds allocated for the pandemic
response has eroded the trust of the public.

132. Defendants lack of transparency and honest has destroyed any
goodwill the public may have had at the start of the pandemic.

COUNTS 47
Violation of 21 USC § 360bbb-3
(Against Defendants Fauci, CDC, FDA, and NIH)

133. The foregoing allegations are incorporated as is re-alleged herein.

134. Defendants EUA for the vaccines and other newly invented treatments
violated section (c)(3) of the EUA act. Defendants refused to look at the available
meta data for Ivermectin prior to authorizing the EUA of the vaccines.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, Joseph B. Jensen SR, requests judgment against
Defendants as follows:
A. For appropriate declaratory relief regarding the unconstitutionality of the
Presidential Executive Order on Vaccination and Testing for Government

Workers and Sub-Contractors;

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B. For appropriate declaratory relief regarding the unconstitutionality of the

Washington State Executive Order on Vaccination and Testing;

. For appropriate declaratory relief regarding the unconstitutionality of any

executive order, federal or state, restricting the rights and liberties of the

people as overbroad and burdensome;

. For summary Judgement to compel the CDC, FDA, and NIH to publicly

acknowledge the use of ivermectin as a prescribed treatment for COVID;

. For appropriate declaratory relief regarding the unlawful and

unconstitutional acts and practices of Defendants;

. For appropriate and equitable relief against Defendants alleged under Bivens

or the Civil Rights Act of 1871, 42 USC Section 1983, including the
enjoining and permanent restraining of these violations, and direction to
Defendants to take such affirmative action as is necessary to ensure the
effects of unlawful and unconstitutional enforcement practices are eliminates

and do not continue to affect Plaintiffs rights;

. For the maximum allowable damages against all defendants alleged under

Bivens or the Civil Rights Act of 1871, 42 USC section 1983;

. For reimbursement of costs associated with this action;

. Plaintiff reserves the right to ask for reasonable attorney fees should an

attorney appear in the case to pursue justice; and

. For such other and further relief to which the Plaintiffs may show

themselves justly entitled.

VII. CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being
presented for an improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation; (2) is supported by existing law or by a

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nonfrivolous argument for extending or modifying existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely
have evidentiary support after a reasonable opportunity for further investigation or

discovery; and (4) the complaint otherwise complies with the requirements of Rule

ll.

I agree to provide the Clerk's Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address

on file with the Clerk's Office may result in the dismissal of my case.

Executed at ALAND , Ww AR on L/Z2S 2021.

(Location) (Bate)

Zar Lega

Goss seph B. Jensen SR

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the.diseruntled. moderate(@gmail.c
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